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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,             )
                           Plaintiff, )
                                      )
      vs.                             )         Case No. 13-40128-01-DDC
                                      )
                                      )
CHRISTINE KILPATRICK,                 )
                        Defendant. )
____________________________________)



                                       ORDER

       NOW ON THIS 8th day of September, 2014, the above-entitled matter comes

before the Court upon the defendant’s notice that her true legal name is Christine

Kilpatrick.

       The parties are in agreement that defendant was restored to her maiden name of

Christine Kilpatrick pursuant to the Decree of Divorce filed in the District Court of

Geary County, Kansas, Case No. 2014-DM-000016 and also agree that all future

pleadings in the above-entitled case should be filed under Christine Kilpatrick.

       IT IS THEREFORE BY THE COURT ORDERED that the above-entitled case

should be amended to reflect that the defendant’s name is Christine Kilpatrick and that

all future pleadings should be filed under that name.
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      IT IS SO ORDERED.



                                    s/ Daniel D. Crabtree
                                    HONORABLE DANIEL D. CRABTREE
                                    United States District Judge

Approved:



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